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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


UNITED STATES OF AMERICA,                     )
          Plaintiff,                          )
                                              )
       vs.                                    )   CAUSE NO. 1:18-mj-01064
                                              )
MICHAEL DALE FLOYD,                           )                          - 01
          Defendant.                          )


                  COURTROOM MINUTE FOR OCTOBER 29, 2018
                HONORABLE DORIS L. PRYOR, MAGISTRATE JUDGE

       The parties appear for a preliminary and detention hearing. Defendant appeared in

person and by CJA counsel Jonathan Bont.    Government represented by AUSA Steve DeBrota.

USPO represented by Danieka Thompkins.

       Defendant orally waived his right to a preliminary hearing and probable cause found.

       Defendant moved to withdraw its oral motion for pretrial detention and the defendant was

ordered released on October 30, 2018.

       Defendant remanded to the custody of the U.S. Marshals pending further proceedings

before the Court.


         Date: 11/2/2018




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